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                                           :   UNITED STATES BANKRUPTCY COURT
 In the Matter of:                         :   FOR THE DISTRICT OF NEW JERSEY
                                           :   HONORABLE GLORIA M. BURNS
 SHAPES/ARCH HOLDINGS, L.L.C., et          :   CASE NO. 08-14631(GMB)
 al.,                                      :
                                           :              (Jointly Administered)
                        Debtors.           :
                                           :                  Chapter 11
                                           :
                                           :   APPLICATION FOR ORDER
                                               SHORTENING TIME FOR NOTICE OF
                                               HEARING ON MOTION OF THE
                                               OFFICIAL COMMITTEE OF
                                               UNSECURED CREDITORS FOR ENTRY
                                               OF AN ORDER APPOINTING A
                                               CHAPTER 11 TRUSTEE PURSUANT TO
                                               SECTIONS 1104 AND 1106 OF THE
                                               BANKRUPTCY CODE


 TO:      HONORABLE GLORIA M. BURNS
          United States Bankruptcy Judge



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          The Official Committee of Unsecured Creditors (the “Committee”) of Shapes/Arch

 Holdings L.L.C., et al. (the “Debtors”), by and through its co-counsel, hereby submits this

 application (the “Application”) pursuant to Fed. R. Bankr. P. 9006(c)(1) and D.N.J. LBR 9013-

 1(e), for the entry of an order shortening the time period for notice and setting a hearing on the

 Committee’s motion (the “Motion”) for entry of an order appointing a Chapter 11 trustee in these

 Chapter 11 cases pursuant to §§1104 and 1106 of Title 11 of the United States Code (the

 “Bankruptcy Code”). In support of the Application, the Committee respectfully states as

 follows:

                   JURISDICTION, VENUE AND STATUTORY PREDICATES

          1.       The Court has jurisdiction to consider this Application pursuant to 28 U.S.C.

 §§157 and 1334. Venue of the Application is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

 This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

          2.       The statutory predicates for the relief sought herein are Fed. R. Bankr. P. 9006(c)

 and D.N.J. LBR 9013-1(e).

          3.       Rule 9006(c)(1) of the Federal Rules of Bankruptcy Procedure authorizes this

 Court, for cause shown, to reduce the normal twenty (20)-day notice period for a motion

 imposed by Rule 9013-1(a) of the Local Rules of Bankruptcy Procedure. If the time period is

 not shortened with regard to the Motion, the next available hearing date, with allowance for

 notice as required by D.N.J. LBR 9013-1(a), would be May 19, 2008.

                         RELIEF REQUESTED AND BASIS THEREFOR

          4.       By the Motion, the Committee seeks entry of an order appointing a Chapter 11

 trustee in these Chapter 11 cases pursuant to §§1104 and 1106 of the Bankruptcy Code. The

 Committee does not make the Motion to replace the Debtors’ management with a Chapter 11



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 trustee lightly. However, the Debtors’ management, whether because it is controlled by Versa1

 or for other reasons, has assigned its fiduciary responsibilities to Versa (as lender/buyer and

 controller of the companies) and, thus, is unable to fulfill the fiduciary duties it undeniably owes

 to the Debtors’ creditors and estates. The Debtors are conducting these cases for the benefit of

 Versa, as evidenced by the terms of the Versa DIP and the Plan, and even the supposedly

 improved, amended plan, and are actively and arrogantly opposing the legitimate efforts of the

 Committee and third parties to open the sale process to competitive bids.

          5.       The Debtors’ actions to protect a closed and unfair process at all cost can only

 discourage potential bidders, and as the Debtors themselves have made clear, the passage of time

 does not benefit these estates. The Debtors have been adamant about their precarious financial

 situation and the fact that they will run out of money in the near future, even with the DIP

 financing arrangements. Therefore, an undue delay in the consideration of the Motion will allow

 these cases to continue down the wrong track, to the detriment of creditors, and in violation of

 fundamental bankruptcy principles.

          6.       These facts and others, more fully discussed in the Trustee Application, have led

 the Committee to the unwelcome conclusion that cause exists for the appointment of a trustee,

 pursuant to section 1104(a)(1) of the Bankruptcy Code, and that such an appointment is in the

 best interests of creditors and other parties, as contemplated in section 1104(a)(2) of the

 Bankruptcy Code, and that the appointment of a trustee cannot wait a full motion cycle (i.e., until

 May 19, 2008).




          1
         Capitalized terms used but not defined herein have the meanings ascribed to them in the
 Application in support of the Motion (the “Trustee Application”).



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          7.       Accordingly, time is of the essence and the Committee respectfully submits that

 cause exists to shorten the notice period on the Motion.

          8.       The Court already has scheduled a hearing to consider the motion of Arch

 Acquisition I, LLC (an affiliate of H.I.G. Capital) to terminate the Debtors’ exclusive periods to

 file a plan of reorganization and solicit acceptances thereto (the “Arch Motion to Terminate

 Exclusivity”) for May 9, 2008 at 10:00 a.m. Contemporaneously with this Application, the

 Committee has filed an application seeking shortened notice for the Committee’s own motion to

 terminate the Debtors’ exclusive periods. As consideration of appointment of a Chapter 11

 trustee is inherently intertwined with consideration of termination of the Debtors’ exclusive

 periods, the Committee submits that shortened notice is both necessary and appropriate. In the

 interests of judicial economy, the Committee respectfully requests that the Motion should be

 heard at the same time as the Arch Motion to Terminate Exclusivity.

          9.       Reduction of the time period in question is not prohibited under Fed. R. Bankr. P.

 9006 (c)(2) and the rules listed therein.




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          WHEREFORE, the Committee respectfully requests that the Court grant the Application

 and such other relief that the Court deems just and appropriate under the circumstances.

                                                 Respectfully submitted,

                                                 HALPERIN BATTAGLIA RAICHT, LLP
                                                 Co-Counsel to the Official Committee of
                                                 Unsecured Creditors


                                                 By:     /s/ Alan D. Halperin
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                                                 Unsecured Creditors


                                                 By:     /s/ Michael D. Sirota
                                                          Michael D. Sirota
                                                          Ilana Volkov
                                                          Warren A. Usatine

 DATED: April 29, 2008




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